                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
vs.                                            )   Case No. 12-5012-CR-SW-GAF
                                               )
MICHAEL STUBBLEFIELD,                          )
                                               )
                      Defendant.               )

                                           ORDER

       On July 10, 2013, a hearing was held by United States Magistrate Judge David P. Rush

on the issue of defendant’s competency. No evidence was presented other than the report of

Meredith L. Meeks, M.A., and Richart L. DeMier, Ph.D., Clinical Psychologist at the United

States Medical Center for Federal Prisoners.

       On July 16, 2013, Judge Rush issued his Report and Recommendation (Doc. #73).

       Upon careful and independent review of the record, as well as the applicable law, and

there being no objections filed to the Report and Recommendation, this Court hereby adopts and

incorporates as its own Opinion and Order the Report and Recommendation of United States

Magistrate Judge David P. Rush.

       Accordingly, it is




       Case 3:12-cr-05012-GAF          Document 74     Filed 08/15/13     Page 1 of 2
       ORDERED that defendant is declared competent to stand trial, and declared to have been

capable of appreciating the nature and quality of the wrongfulness of his acts at the time of the

commission of the acts constituting the alleged offense.

                                                    s/ Gary A. Fenner
                                                    GARY A. FENNER, JUDGE
                                                    UNITED STATES DISTRICT COURT

DATED: August 15, 2013




                                                2

       Case 3:12-cr-05012-GAF          Document 74         Filed 08/15/13   Page 2 of 2
